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                    EXHIBIT C
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From:            CBPFOIA@cbp.dhs.gov
To:              Nathan Wessler
Subject:         FOIA Expedited Processing Disposition Reached for CBP-2017-058684
Date:            Wednesday, May 24, 2017 12:36:41 PM




Your request for Expedited Processing for the FOIA request CBP-2017-058684 has been
denied. Additional details for this request are as follows:

       Request Created on: 05/19/2017
       Expedited Disposition Reason: Did not meet DHS criteria.
       Request Long Description: The American Civil Liberties Union and the American Civil
       Liberties Union Foundation request records pertaining to use of cell site simulators by
       Immigration and Customs Enforcement and Customs and Border Protection.
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From:           CBPFOIA@cbp.dhs.gov
To:             Nathan Wessler
Subject:        Final Disposition, Request CBP-2017-058684
Date:           Wednesday, May 24, 2017 12:54:25 PM
Attachments:    CBP-2017-058684 Final Response Letter.pdf




This is a final response to your Freedom of Information Act (FOIA) request to U.S. Customs
and Border Protection (CBP).

We conducted a comprehensive search of files within the CBP databases for records that
would be responsive to your request. Unfortunately, we were unable to locate or identify any
responsive records, based upon the information you provided in your request.

This completes the CBP response to your request.  You may contact a FOIA Public Liaison
by sending an email via your FOIAonline account, or call 202-325-0150.  Please notate file
number CBP-2017-058684 on any future correspondence to CBP related to this request.

If you are not satisfied with the response to this request, you have a right to appeal the final
 disposition. Should you wish to do so, you must file your appeal within 90 days of the date of
 this letter following the procedures outlined in the DHS regulations at Title 6 C.F.R. §5.9.
 Please include as much information as possible to help us understand the grounds for your
 appeal. You should submit your appeal via FOIAonline by clicking on the “Create Appeal”
 button that appears when you view your initial request.   If you do not have computer access,
 you may send your appeal and a copy of this letter to: FOIA Appeals, Policy and Litigation
 Branch, U.S. Customs and Border Protection, 90 K Street, NE, 10th Floor, Washington, DC
 20229-1177. Your envelope and letter should be marked "FOIA Appeal." Copies of the
 FOIA and DHS regulations are available at www.dhs.gov/foia. Additional information can be
 found at the following link https://www.cbp.gov/document/guidance/exemption-definitions.

Additionally, you have a right to seek dispute resolution services from the Office of
Government Information Services (OGIS) which mediates disputes between FOIA requesters
and Federal agencies as a non-exclusive alternative to litigation. If you are requesting access
to your own records (which is considered a Privacy Act request), you should know that OGIS
does not have the authority to handle requests made under the Privacy Act of 1974. You may
contact OGIS as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-
mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at
202-741-5769.

Given the nature of this request, some records are only being released to you as the requester.
If you have an account in FOIAonline, you may access those records by logging into
FOIAonline. Otherwise, those responsive records will be sent via the method agreed upon
with the FOIA processor.
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                                                                      1300 Pennsylvania Avenue NW
                                                                      Washington, DC 20229




                                                             CBP‐2017‐058684

May 24, 2017

Nathan Wessler
American Civil Liberties Union
125 Broad Street, 18th Floor
New York, NY 10004


Dear Mr. Wessler:

This is a final response to your Freedom of Information Act (FOIA) request to U.S. Customs and
Border Protection (CBP) records pertaining to use of cell site simulators by Customs and Border
Protection.

We conducted a comprehensive search of files within the CBP databases for records that would
be responsive to your request. Unfortunately, we were unable to locate or identify any
responsive records, based upon the information you provided in your request.

This completes the CBP response to your request. You may contact a FOIA Public Liaison by
sending an email via your FOIAonline account, or call 202‐325‐0150. Please notate file number
CBP‐2017‐058684 on any future correspondence to CBP related to this request.

If you are not satisfied with the response to this request, you have a right to appeal the final
disposition. Should you wish to do so, you must file your appeal within 90 days of the date of
this letter following the procedures outlined in the DHS regulations at Title 6 C.F.R. §5.9. Please
include as much information as possible to help us understand the grounds for your appeal.
You should submit your appeal via FOIAonline by clicking on the “Create Appeal” button that
appears when you view your initial request. If you do not have computer access, you may send
your appeal and a copy of this letter to: FOIA Appeals, Policy and Litigation Branch, U.S.
Customs and Border Protection, 90 K Street, NE, 10th Floor, Washington, DC 20229‐1177. Your
envelope and letter should be marked "FOIA Appeal." Copies of the FOIA and DHS regulations
are available at www.dhs.gov/foia. Additional information can be found at the following link
https://www.cbp.gov/document/guidance/exemption‐definitions.

Additionally, you have a right to seek dispute resolution services from the Office of Government
Information Services (OGIS) which mediates disputes between FOIA requesters and Federal
agencies as a non‐exclusive alternative to litigation. If you are requesting access to your own
records (which is considered a Privacy Act request), you should know that OGIS does not have
the authority to handle requests made under the Privacy Act of 1974. You may contact OGIS as
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follows: Office of Government Information Services, National Archives and Records
Administration, 8601 Adelphi Road‐OGIS, College Park, Maryland 20740‐6001, e‐mail at
ogis@nara.gov; telephone at 202‐741‐5770; toll free at 1‐877‐684‐6448; or facsimile at 202‐
741‐5769.

Sincerely,


Jasmine Wiggins
FOIA Analyst, FOIA Division
Privacy and Diversity Office
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From:            CBPFOIA@cbp.dhs.gov
To:              Nathan Wessler
Subject:         FOIA Fee Waiver Disposition Reached for CBP-2017-058684
Date:            Wednesday, May 24, 2017 12:34:58 PM




Your request for Fee Waiver for the FOIA request CBP-2017-058684 has been determined to
be not applicable as the request is not billable. Additional details for this request are as
follows:

       Request Created on: 05/19/2017
       Fee Waiver Disposition Reason: N/A
       Request Long Description: The American Civil Liberties Union and the American Civil
       Liberties Union Foundation request records pertaining to use of cell site simulators by
       Immigration and Customs Enforcement and Customs and Border Protection.
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LEGAL DEPARTMENT




                                                                                                        June 19, 2017

                                    FOIA Appeals
                                    Policy and Litigation Branch
                                    U.S. Customs and Border Protection
                                    90 K Street, NE, 10th Floor
                                    Washington, DC 20229‐1177


                                           Re:     Freedom of Information Act Appeal
                                                   FOIA Request # CBP-2017-058684
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION                    To Whom It May Concern:
NATIONAL OFFICE
125 BROAD STREE T, 18TH FL.
NEW YORK, NY 10004-2400
T/212.549.2500
                                            The American Civil Liberties Union and the American Civil Liberties
WWW.ACLU.ORG                        Union Foundation (together, the “ACLU”) write to appeal Customs and Border
OFFICERS AND DIRECTORS              Protection’s (“CBP”) final response to Freedom of Information Act (“FOIA”)
SUSAN N. HERMAN
PRESIDENT
                                    Request No. 2017-058684 (the “Request,” attached as Exhibit A). The Request,
ANTHONY D. ROMERO
                                    dated May 19, 2017, seeks copies of records pertaining to the use of cell site
EXECUT IVE DIRECTO R                simulators by Immigration and Customs Enforcement (“ICE”) and CBP.
ROBERT B. R EMAR
TREASURER
                                           By letter dated May 24, 2017 (the “Response,” attached as Exhibit B),
                                    CBP denied the ACLU’s request for records pertaining to CBP’s use of cell site
                                    simulators because the agency was “unable to locate or identify any responsive
                                    records” despite having “conducted a comprehensive search of files within the
                                    CBP databases.” This final response violates FOIA by failing to provide records
                                    responsive to the Request and by indicating that CBP failed to perform an
                                    adequate search of its records. The ACLU hereby appeals this decision.

                                            “An inadequate search for records constitutes an improper withholding
                                    under the FOIA.” Dean v. U.S. Dep’t of Justice, 141 F. Supp. 3d 46, 48 (D.D.C.
                                    2015). “An agency’s search is adequate if its methods are reasonably calculated
                                    to locate records responsive to a FOIA request.” Hodge v. FBI, 764 F. Supp. 2d
                                    134, 141 (D.D.C. 2011); see also 6 C.F.R. § 5.3(b) (explaining that FOIA
                                    requires agencies to “locate [records requested] with a reasonable amount of
                                    effort.”). By failing to disclose responsive records within the applicable
                                    timeframe and failing to provide a plausible justification for nondisclosure, the
                                    CBP has violated 5 U.S.C. § 552(a)(6)(A). To the extent that this failure is
                                    attributable to the adequacy of the CBP’s search for responsive records, the CBP
                                    violated 5 U.S.C. § 552(a)(3)(C), (D).

                                            First, it is not plausible that a “comprehensive” search by CBP would fail
                                    to return responsive records. A December 2016 report from the House
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                                 Committee on Oversight and Government Reform discloses that CBP possesses
                                 at least 33 cell site simulator devices. 1 At a minimum, CBP necessarily has
                                 records regarding the purchase of this equipment, which would be responsive to
                                 item 9 of the Request. See Request at 4. Moreover, it is not plausible that CBP
                                 has never used its nearly three dozen cell site simulators, meaning that the
                                 agency would also have records responsive to the portions of the request
                                 covering deployment and use of the technology. See id. at 3-4. It is simply not
                                 credible that CBP possesses more than 30 cell site simulators but has zero
                                 records regarding their purchase and use. An adequate search would have
                                 returned records responsive to the Request. CBP has failed to conduct a search
                                 “reasonably calculated to locate” responsive records. Hodge, 764 F. Supp. 2d at
                                 141.

                                         Second, CBP’s Response lacks any explanation concerning the reason
                                 why the agency found no responsive records. CBP merely asserted that it
AMERICAN CIVIL LIBERTIES
UNION FOUNDATION
                                 conducted a “comprehensive search” of its database, but did not specify what
                                 agency components or records repositories and databases were searched, nor the
                                 search terms or methods used to seek responsive records. Because an agency
                                 “cannot limit its search to only one record system if there are others that are
                                 likely to turn up the information requested,” Oglesby v. U.S. Dep’t of Army, 920
                                 F.2d 57, 68 (D.C. Cir. 1990), the agency “at a minimum ha[s] to aver that it has
                                 searched all files likely to contain relevant documents.” AIC v. DHS, 950 F.
                                 Supp. 2d 221, 230 (D.D.C. 2013). Moreover, CBP sent its Response a mere
                                 three business days after the Request was submitted. This raises concerns about
                                 the thoroughness of the search. A reasonable search for records responsive to the
                                 Request would include searches of, at a minimum: records concerning purchase
                                 and acquisition of cell site simulators held by the Office of Acquisition and the
                                 Office of Information & Technology; records regarding policies governing and
                                 actual practices of use and deployment of cell site simulators held by the Office
                                 of Field Operations, the Border Patrol, the various components of the Operations
                                 Support Office, and other agency components; policy documents and other
                                 responsive records held by the Privacy and Diversity Office; and records held by
                                 the Office of the Chief Counsel. 2

                                        CBP’s decision to deny the ACLU’s request for records pertaining to the
                                 agency’s use of cell site simulators was in error. It is not plausible that CBP
                                 conducted a “comprehensive search of files” for responsive records. See


                                 1
                                   House Comm. On Oversight & Gov’t Reform, Law Enforcement Use of Cell-Site Simulation
                                 Technologies: Privacy Concerns & Recommendations 14 (Dec. 19, 2016),
                                 https://oversight.house.gov/wp-content/uploads/2016/12/THE-FINAL-bipartisan-cell-site-
                                 simulator-report.pdf.
                                 2
                                  This list is illustrative only, and is not intended to represent a comprehensive list of
                                 components that should be searched. The agency must make an initial determination of which
                                 components are likely to possess responsive records.



                                                                              2
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             EXHIBIT A
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LEGAL
DEPARTMENT




                                                                                          May 19, 2017

                                U.S. Customs and Border Protection
                                Freedom of Information Act Officer
                                1300 Pennsylvania Avenue, NW Room 3.3D
                                Washington, D.C. 20229
                                Phone: 202-344-1610

                                U.S. Immigration and Customs Enforcement
                                Freedom of Information Act Office
                                500 12th Street SW, Stop 5009
AMERICAN CIVIL                  Washington, D.C. 20536-5009
LIBERTIES UNION
FOUNDATION                      Fax: 202-732-4266
NATIONAL OFFICE                 Email: ICE-FOIA@dhs.gov
125 BROAD STREET, 18TH
FL.
NEW YORK, NY 10004-2400
                                Re:       Request Under Freedom of Information Act
T/212.549.2500                            (Expedited Processing & Fee Waiver/Limitation Requested)
WWW.ACLU.ORG

OFFICERS AND
                                To Whom It May Concern:
DIRECTORS
SUSAN N. HERMAN
PRESIDENT
                                       The American Civil Liberties Union and the American Civil Liberties
                                Union Foundation (together, the “ACLU”) 1 submit this Freedom of Information
ANTHONY D. ROMERO
                                Act (“FOIA”) request (the “Request”) for records pertaining to use of cell site
EXECUTIVE DIREC TOR
                                simulators by Immigration and Customs Enforcement (“ICE”) and Customs and
ROBERT B. REMAR                 Border Protection (“CBP”).
TREASURER


                                                                            I. Background

                                       On May 18, 2017, the Detroit News reported on a case where
                                Immigration and Customs Enforcement agents, working with the FBI Violent
                                Gangs Task Force, obtained a search warrant authorizing use of a cell site
                                simulator to locate an undocumented immigrant suspected of “Unlawful Re-



                                      1
                                      The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                                that provides legal representation free of charge to individuals and organizations in civil rights
                                and civil liberties cases, educates the public about civil rights and civil liberties issues across the
                                country, directly lobbies legislators, and mobilizes the American Civil Liberties Union’s
                                members to lobby their legislators. The American Civil Liberties Union is a separate non-profit,
                                26 U.S.C. § 501(c)(4) membership organization that educates the public about the civil liberties
                                implications of pending and proposed state and federal legislation, provides analysis of pending
                                and proposed legislation, directly lobbies legislators, and mobilizes its members to lobby their
                                legislators.
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                        entry after Deportation.” 2 Although it has been publicly known for several years
                        that ICE has purchased cell site simulator technology, 3 this is the first time the
                        ACLU has seen evidence of use of the technology in a particular ICE
                        investigation or operation.

                                Cell site simulators, also called IMSI catchers (in reference to the unique
                        identifier—or international mobile subscriber identity—of wireless devices),
                        impersonate a wireless service provider’s cell tower, prompting cell phones and
                        other wireless devices to communicate with them. These devices are often called
                        “Stingrays,” after a leading model produced by the Florida-based Harris
                        Corporation. 4 Cell site simulators are commonly used in two ways: to collect
                        unique numeric identifiers associated with phones in a given location, or to
                        ascertain the location of a phone when the officers know the numbers associated
                        with it but don’t know precisely where it is. Both of these uses raise privacy
                        concerns. Collecting unique identifiers of all phones in a particular location
AMERICAN CIVIL
LIBERTIES UNION         inherently collects location data on many innocent people. And using a cell site
FOUNDATION              simulator to ascertain the location of a specific cell phone can reveal that it is in
                        a constitutionally protected place, such as a home, that has traditionally been
                        immune from search unless law enforcement agents obtain a warrant based on
                        probable cause. Moreover, even when law enforcement is using a cell site
                        simulator to locate a specific suspect, the device also sweeps up information
                        about bystanders’ phones.

                                Despite the Department of Homeland Security’s issuance in 2015 of a
                        policy directive governing use of cell site simulators by DHS components in
                        furtherance of criminal investigations, 5 and ICE’s 2012 release of records



                            2
                              Robert Snell, Feds Use Anti-Terror Tool to Hunt the Undocumented, Detroit News, May
                        18, 2017, http://www.detroitnews.com/story/news/local/detroit-city/2017/05/18/cell-snooping-
                        fbi-immigrant/101859616/.
                            3
                               See Letter from Catrina M. Pavlik-Keenan, FOIA Officer, U.S. Immigration and Customs
                        Enforcement, to Christopher Soghoian, Center for Applied Cybersecurity Research, Indiana
                        University, Re: ICE FOIA Case Number 2012FOIA5235 (Sept. 19, 2012), available at
                        https://www.documentcloud.org/documents/479397-stingrayfoia.html.
                            4
                               Other models of cell site simulators marketed by Harris Corp. include the “Triggerfish,”
                        “Kingfish,” and “Hailstorm.” See Ryan Gallagher, Meet the Machines that Steal Your Phone’s
                        Data, Ars Technica (Sept. 25, 2013), http://arstechnica.com/tech-policy/2013/09/meet-the-
                        machines-that-steal-your-phones-data/. Similar devices, often called “DRT boxes” or
                        “dirtboxes” are marketed by Digital Receiver Technology (DRT). See Devlin Barrett,
                        Americans’ Cellphones Targeted in Secret U.S. Spy Program, Wall St. J. (Nov. 13, 2014),
                        http://online.wsj.com/articles/americans-cellphones-targeted-in-secret-u-s-spy-program-
                        1415917533.
                            5
                               Department of Homeland Security, Policy Directive 047-02, Department Policy Regarding
                        the Use of Cell-Site Simulator Technology (Oct. 19, 2015),
                        https://www.dhs.gov/sites/default/files/publications/Department%20Policy%20Regarding%20th
                        e%20Use%20of%20Cell-Site%20Simulator%20Technology.pdf.


                                                                          2
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                        concerning purchase of cell site simulator technology, 6 little is publicly known
                        about use of cell site simulators in ICE and CBP operations.

                                 To provide the American public with information about use of invasive
                        cell site simulator devices within the United States by ICE and CBP, the ACLU
                        seeks such information through this FOIA request.

                                                          II. Requested Records

                               The ACLU seeks the release of the following records (including reports,
                        memoranda, guidance documents, instructions, training documents, formal and
                        informal presentations, directives, contracts or agreements, memoranda of
                        understanding, and written or electronic communications):

                               (1)      Any policy directives, guidance documents, memoranda, training
AMERICAN CIVIL
LIBERTIES UNION         materials, or similar records created on or after October 19, 2015, governing or
FOUNDATION              concerning use of cell site simulators by Immigrations and Customs
                        Enforcement and Customs and Border Protection agents, employees, or partners,
                        including any policy or guidance document that cites Department of Homeland
                        Security Policy Directive 047-02 (“Department Policy Regarding Use of Cell-
                        Site Simulator Technology”), 7 as well as any communications with Congress
                        concerning implementation of or updates to DHS Policy Directive 047-02 and
                        other policies governing cell site simulator use;

                                (2)     Any records reflecting whether ICE or CBP does use or is
                        permitted to use cell site simulators in furtherance of civil immigration
                        enforcement operations, as opposed to in furtherance of criminal investigations,
                        and any guidance concerning whether and how DHS Policy Directive 047-02
                        applies to uses of cell site simulators in furtherance of immigration-related
                        investigations that are not criminal in nature;

                                (3)     From October 19, 2015 to the present, annual records reflecting
                        the total number of times a cell-site simulator is deployed in the jurisdiction of
                        each field office, the numbers of deployments at the request of other agencies,
                        and the number of times the technology is deployed in emergency circumstances
                        (collection of this information is required by DHS Policy Directive 047-02);

                               (4)     Since the date of the last annual record described in item 3,
                        above, records reflecting the number of ICE and CBP investigations or


                            6
                               ICE FOIA Case Number 2012FOIA5235, available at
                        https://www.documentcloud.org/documents/479397-stingrayfoia.html.
                            7
                               Department of Homeland Security, Policy Directive 047-02, Department Policy Regarding
                        the Use of Cell-Site Simulator Technology (Oct. 19, 2015),
                        https://www.dhs.gov/sites/default/files/publications/Department%20Policy%20Regarding%20th
                        e%20Use%20of%20Cell-Site%20Simulator%20Technology.pdf.


                                                                       3
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                        operations in which cell site simulators have been deployed, including
                        information about the field office deploying the cell site simulator and whether
                        those deployments were in support of criminal investigations of non-
                        immigration-related offenses, criminal investigations of immigration-related
                        offenses, or civil immigration enforcement operations;

                                 (5)     Records reflecting the number of times ICE and CBP have
                        requested the assistance of other law enforcement agencies (including federal,
                        state, local, and foreign) in deploying cell site simulators;

                               (6)     Records regarding implementation of an auditing program to
                        ensure deletion of data collected by cell site simulators, as required by DHS
                        Policy Directive 047-02;

                               (7)     All applications submitted to state and federal courts since
AMERICAN CIVIL
LIBERTIES UNION         January 1, 2013, for orders or search warrants authorizing the use of cell site
FOUNDATION              simulators in ICE and CBP investigations or operations (including investigations
                        or operations as part of task forces or partnerships with other agencies), as well
                        as any warrants or orders, denials of warrants or orders, and returns of warrants
                        associated with those applications. If any responsive records are sealed, please
                        provide the date, court, and docket number for each sealed document;

                               (8)  All requests to persons or offices within the Department of
                        Homeland Security for supervisory or legal authorization to deploy cell site
                        simulators;

                                (9)     Records dated or created on or after January 1, 2013 concerning
                        the purchase of cell site simulator equipment and related software and hardware,
                        including purchase orders, invoices, documentation of selection, sole source or
                        limited source justification and approval documentation, communications, and
                        other memoranda and documentation. This should include any purchase of cell
                        site simulator equipment from the Harris Corporation (including, but not limited
                        to, Stingray, Stingray II, Hailstorm, Triggerfish, Kingfish, Amberjack, and
                        Harpoon devices), DRT (also known as Digital Receiver Technology), and other
                        companies. At a minimum, please search the ICE Office of Acquisition
                        Management for these record; and

                                 (10) Records concerning the use of evidence derived or resulting from
                        use of a cell site simulator in immigration court proceedings, and the provision
                        of notice to respondents in immigration court proceedings informing them that a
                        cell site simulator was used.


                                With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
                        ACLU requests that responsive electronic records be provided electronically in
                        their native file format, if possible. Alternatively, the ACLU requests that the


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                        records be provided electronically in a text-searchable, static-image format
                        (PDF), in the best image quality in the agency’s possession, and that the records
                        be provided in separate, Bates-stamped files.

                                                    III. Application for Expedited Processing

                                The ACLU requests expedited processing pursuant to 5 U.S.C.
                        § 552(a)(6)(E). 8 There is a “compelling need” for these records, as defined in
                        the statute, because the information requested is “urgen[tly]” needed by an
                        organization primarily engaged in disseminating information “to inform the
                        public concerning actual or alleged Federal Government activity.” 5
                        U.S.C. § 552(a)(6)(E)(v)(II).

                        A.          The ACLU is an organization primarily engaged in disseminating
                                    information in order to inform the public about actual or alleged
AMERICAN CIVIL
LIBERTIES UNION                     government activity.
FOUNDATION

                                The ACLU is “primarily engaged in disseminating information” within
                        the meaning of the statute. 5 U.S.C. § 552(a)(6)(E)(v)(II). 9 Obtaining
                        information about government activity, analyzing that information, and widely
                        publishing and disseminating that information to the press and public are critical
                        and substantial components of the ACLU’s work and are among its primary
                        activities. See ACLU v. DOJ, 321 F. Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding
                        non-profit public interest group that “gathers information of potential interest to
                        a segment of the public, uses its editorial skills to turn the raw material into a
                        distinct work, and distributes that work to an audience” to be “primarily engaged
                        in disseminating information”). 10

                                The ACLU regularly publishes STAND, a print magazine that reports on
                        and analyzes civil liberties-related current events. The magazine is disseminated
                        to over 620,000 people. The ACLU also publishes regular updates and alerts via
                        email to over 2.6 million subscribers (both ACLU members and non-members).
                        These updates are additionally broadcast to over 3.2 million social media
                        followers. The magazine as well as the email and social-media alerts often
                        include descriptions and analysis of information obtained through FOIA
                        requests.

                                    The ACLU also regularly issues press releases to call attention to

                             8
                                 See also 6 C.F.R. 5.5(e).
                             9
                                 See also 6 C.F.R. 5.5(e)(1)(ii).
                             10
                                Courts have found that the ACLU as well as other organizations with similar missions
                        that engage in information-dissemination activities similar to the ACLU are “primarily engaged
                        in disseminating information.” See, e.g., Leadership Conference on Civil Rights v. Gonzales,
                        404 F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5; Elec. Privacy Info.
                        Ctr. v. DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).


                                                                         5
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                        documents obtained through FOIA requests, as well as other breaking news, 11
                        and ACLU attorneys are interviewed frequently for news stories about
                        documents released through ACLU FOIA requests. 12

                                 Similarly, the ACLU publishes reports about government conduct and
                        civil liberties issues based on its analysis of information derived from various
                        sources, including information obtained from the government through FOIA
                        requests. This material is broadly circulated to the public and widely available
                        to everyone for no cost or, sometimes, for a small fee. ACLU national projects
                        regularly publish and disseminate reports that include a description and analysis
                        of government documents obtained through FOIA requests. 13 The ACLU also

                            11
                                See, e.g., Press Release, American Civil Liberties Union, U.S. Releases Drone Strike
                        ‘Playbook’ in Response to ACLU Lawsuit (Aug. 6, 2016), https://www.aclu.org/news/us-
AMERICAN CIVIL
                        releases-drone-strike-playbook-response-aclu-lawsuit; Press Release, American Civil Liberties
LIBERTIES UNION         Union, Secret Documents Describe Graphic Abuse and Admit Mistakes (June 14, 2016),
FOUNDATION              https://www.aclu.org/news/cia-releases-dozens-torture-documents-response-aclu-lawsuit; Press
                        Release, American Civil Liberties Union, U.S. Releases Targeted Killing Memo in Response to
                        Long-Running ACLU Lawsuit (June 23, 2014), https://www.aclu.org/national-security/us-
                        releases-targeted-killing-memo-response-long-running-aclu-lawsuit; Press Release, American
                        Civil Liberties Union, Justice Department White Paper Details Rationale for Targeted Killing of
                        Americans (Feb. 4, 2013), https://www.aclu.org/national-security/justice-department-white-
                        paper-details-rationale-targeted-killing-americans; Press Release, American Civil Liberties
                        Union, Documents Show FBI Monitored Bay Area Occupy Movement (Sept. 14, 2012),
                        https://www.aclu.org/news/documents-show-fbi-monitored-bay-area-occupy-movement-
                        insidebayareacom.
                            12
                                See, e.g., Cora Currier, TSA’s Own Files Show Doubtful Science Behind Its Behavioral
                        Screen Program, Intercept, Feb. 8, 2017, https://theintercept.com/2017/02/08/tsas-own-files-
                        show-doubtful-science-behind-its-behavior-screening-program/ (quoting ACLU attorney Hugh
                        Handeyside); Karen DeYoung, Newly Declassified Document Sheds Light on How President
                        Approves Drone Strikes, Wash. Post, Aug. 6, 2016, http://wapo.st/2jy62cW (quoting former
                        ACLU deputy legal director Jameel Jaffer); Catherine Thorbecke, What Newly Released CIA
                        Documents Reveal About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
                        http://abcn.ws/2jy40d3 (quoting ACLU staff attorney Dror Ladin); Nicky Woolf, US Marshals
                        Spent $10M on Equipment for Warrantless Stingray Device, Guardian, Mar. 17, 2016,
                        https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-airborne
                        (quoting ACLU attorney Nate Wessler); David Welna, Government Suspected of Wanting CIA
                        Torture Report to Remain Secret, NPR, Dec. 9, 2015, http://n.pr/2jy2p71 (quoting ACLU project
                        director Hina Shamsi).
                            13
                                See, e.g., Hugh Handeyside, New Documents Show This TSA Program Blamed for
                        Profiling Is Unscientific and Unreliable — But Still It Continues (Feb. 8, 2017, 11:45 AM),
                        https://www.aclu.org/blog/speak-freely/new-documents-show-tsa-program-blamed-profiling-
                        unscientific-and-unreliable-still; Carl Takei, ACLU-Obtained Emails Prove that the Federal
                        Bureau of Prisons Covered Up Its Visit to the CIA’s Torture Site (Nov. 22, 2016, 3:15 PM),
                        https://www.aclu.org/blog/speak-freely/aclu-obtained-emails-prove-federal-bureau-prisons-
                        covered-its-visit-cias-torture; Brett Max Kaufman, Details Abound in Drone ‘Playbook’ –
                        Except for the Ones That Really Matter Most (Aug. 8, 2016, 5:30 PM), https://www.aclu.org/
                        blog/speak-freely/details-abound-drone-playbook-except-ones-really-matter-most; Nathan
                        Freed Wessler, ACLU- Obtained Documents Reveal Breadth of Secretive Stingray Use in
                        Florida (Feb. 22, 2015, 5:30 PM), https://www.aclu.org/blog/free-future/aclu-obtained-
                        documents-reveal-breadth-secretive-stingray-use-florida; Ashley Gorski, New NSA Documents
                        Shine More Light into Black Box of Executive Order 12333 (Oct. 30, 2014, 3:29 PM),

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                        regularly publishes books, “know your rights” materials, fact sheets, and
                        educational brochures and pamphlets designed to educate the public about civil
                        liberties issues and government policies that implicate civil rights and liberties.

                                The ACLU publishes a widely read blog where original editorial content
                        reporting on and analyzing civil rights and civil liberties news is posted daily.
                        See https://www.aclu.org/blog. The ACLU creates and disseminates original
                        editorial and educational content on civil rights and civil liberties news through
                        multi-media projects, including videos, podcasts, and interactive features. See
                        https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
                        disseminates information through its heavily visited website, www.aclu.org.
                        The website addresses civil rights and civil liberties issues in depth, provides
                        features on civil rights and civil liberties issues in the news, and contains many
                        thousands of documents relating to the issues on which the ACLU is focused.
                        The ACLU’s website also serves as a clearinghouse for news about ACLU
AMERICAN CIVIL
LIBERTIES UNION         cases, as well as analysis about case developments, and an archive of case-
FOUNDATION              related documents. Through these pages, and with respect to each specific civil
                        liberties issue, the ACLU provides the public with educational material, recent
                        news, analyses of relevant Congressional or executive branch action,
                        government documents obtained through FOIA requests, and further in-depth
                        analytic and educational multi-media features.

                               The ACLU website includes many features on information obtained
                        through the FOIA. 14 For example, the ACLU’s “Predator Drones FOIA”
                        webpage, https://www.aclu.org/national-security/predator-drones-foia, contains
                        commentary about the ACLU’s FOIA request, press releases, analysis of the
                        FOIA documents, numerous blog posts on the issue, documents related to


                        https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-executive-order-
                        12333; ACLU, ACLU Eye on the FBI: Documents Reveal Lack of Privacy Safeguards and
                        Guidance in Government’s “Suspicious Activity Report” Systems (Oct. 29, 2013),
                        https://www.aclu.org/sites/default/files/assets/eye_on_fbi_-_sars.pdf.
                            14
                                See, e.g., Nathan Freed Wessler & Dyan Cortez, FBI Releases Details of ‘Zero-Day’
                        Exploit Decisionmaking Process (June 26, 2015, 11:00 AM), https://www.aclu.org/blog/free-
                        future/fbi-releases-details-zero-day-exploit-decisionmaking-process; Nathan Freed Wessler, FBI
                        Documents Reveal New Information on Baltimore Surveillance Flights (Oct. 30, 2015, 8:00
                        AM), https://www.aclu.org/blog/free-future/fbi-documents-reveal-new-information-baltimore-
                        surveillance-flights; ACLU v. DOJ – FOIA Case for Records Relating to the Killing of Three
                        U.S. Citizens, ACLU Case Page, https://www.aclu.org/national-security/anwar-al-awlaki-foia-
                        request; ACLU v. Department of Defense, ACLU Case Page, https://www.aclu.org/cases/aclu-v-
                        department-defense; Mapping the FBI: Uncovering Abusive Surveillance and Racial Profiling,
                        ACLU Case Page, https://www.aclu.org/mappingthefbi; Bagram FOIA, ACLU Case Page
                        https://www.aclu.org/cases/bagram-foia; CSRT FOIA, ACLU Case Page,
                        https://www.aclu.org/national-security/csrt-foia; ACLU v. DOJ – Lawsuit to Enforce NSA
                        Warrantless Surveillance FOIA Request, ACLU Case Page, https://www.aclu.org/aclu-v-doj-
                        lawsuit-enforce-nsa-warrantless-surveillance-foia-request; Patriot FOIA, ACLU Case Page,
                        https://www.aclu.org/patriot-foia; NSL Documents Released by DOD, ACLU Case Page,
                        https://www.aclu.org/nsl-documents-released-dod?redirect=cpredirect/32088.


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                        litigation over the FOIA request, frequently asked questions about targeted
                        killing, and links to the documents themselves. Similarly, the ACLU maintains
                        an online “Torture Database,” a compilation of over 100,000 pages of FOIA
                        documents that allows researchers and the public to conduct sophisticated
                        searches of FOIA documents relating to government policies on rendition,
                        detention, and interrogation. 15

                                 The ACLU has also published a number of charts and explanatory
                        materials that collect, summarize, and analyze information it has obtained
                        through the FOIA. For example, through compilation and analysis of
                        information gathered from various sources—including information obtained
                        from the government through FOIA requests—the ACLU created an original
                        chart that provides the public and news media with a comprehensive summary
                        index of Bush-era Office of Legal Counsel memos relating to interrogation,
                        detention, rendition, and surveillance. 16 Similarly, the ACLU produced an
AMERICAN CIVIL
LIBERTIES UNION         analysis of documents released in response to a FOIA request about the TSA’s
FOUNDATION              behavior detection program 17; a summary of documents released in response to a
                        FOIA request related to the FISA Amendments Act 18; a chart of original
                        statistics about the Defense Department’s use of National Security Letters based
                        on its own analysis of records obtained through FOIA requests 19; and an
                        analysis of documents obtained through FOIA requests about FBI surveillance
                        flights over Baltimore. 20

                               The ACLU plans to analyze, publish, and disseminate to the public the
                        information gathered through this Request. The records requested are not
                        sought for commercial use and the requesters plan to disseminate the
                        information disclosed as a result of this Request to the public at no cost.



                            15
                                The Torture Database, ACLU, https://www.thetorturedatabase.org; see also Countering
                        Violent Extremism FOIA Database, ACLU, https://www.aclu.org/foia-collection/cve-foia-
                        documents; TSA Behavior Detection FOIA Database, ACLU, https://www.aclu.org/foia-
                        collection/tsa-behavior-detection-foia-database; Targeted Killing FOIA Database, ACLU,
                        https://www.aclu.org/foia-collection/targeted-killing-foia-database.
                            16
                               Index of Bush-Era OLC Memoranda Relating to Interrogation, Detention, Rendition
                        and/or Surveillance, ACLU (Mar. 5, 2009), https://www.aclu.org/sites/default/files/pdfs/
                        safefree/ olcmemos_2009_0305.pdf.
                            17
                                Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program, ACLU (2017),
                        https://www.aclu.org/sites/default/files/field_document/dem17-tsa_detection_report-v02.pdf.
                            18
                            Summary of FISA Amendments Act FOIA Documents Released on November 29, 2010,
                        ACLU, https://www.aclu.org/files/pdfs/natsec/faafoia20101129/20101129Summary.pdf.
                            19
                               Statistics on NSL’s Produced by Department of Defense, ACLU, https://www.aclu.org/
                        other/statistics-nsls-produced-dod.
                            20
                               Nathan Freed Wessler, FBI Documents Reveal New Information on Baltimore
                        Surveillance Flights (Oct. 30, 2015, 8:00 AM), https://www.aclu.org/blog/free-future/fbi-
                        documents-reveal-new-information-baltimore-surveillance-flights.


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                        B.          The records sought are urgently needed to inform the public about
                                    actual or alleged government activity.

                                These records are urgently needed to inform the public about actual or
                        alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). 21 Specifically,
                        the requested records relate to use of cell site simulators by ICE and CBP. Law
                        enforcement use of cell site simulators is the subject of widespread public
                        controversy and media attention, as reflected in a steady torrent of news
                        coverage in national and local outlets. 22 Also of deep public concern are
                        questions surrounding ICE and CBP operations targeting undocumented
                        immigrants, including whether there are appropriate limits on agents’ discretion,
                        whether particularly vulnerable populations are being protected from unjustified
                        targeting, , and whether agents are using acceptable means to locate and detain
                        people. 23 Amid reports of a spike in arrests of undocumented immigrants by
AMERICAN CIVIL
LIBERTIES UNION
                             21
FOUNDATION                        See also 6 C.F.R. 5.5(e)(1)(ii).
                             22
                                See, e.g., See, e.g., Tom Jackman, D.C. Appeals Court Poised to Rule on Whether Police
                        Need Warrants for Cellphone Tracking, Wash. Post, Apr. 18, 2017,
                        https://www.washingtonpost.com/news/true-crime/wp/2017/04/18/d-c-appeals-court-poised-to-
                        rule-on-whether-police-need-warrants-for-cellphone-tracking/; Erin Kelly, Bipartisan Bill Seeks
                        Warrants for Police Use of ‘Stingray’ Cell Trackers, USA Today, Feb. 15, 2017,
                        https://www.usatoday.com/story/news/politics/onpolitics/2017/02/15/bipartisan-bill-seeks-
                        warrants-police-use-stingray-cell-trackers/97954214/; Brad Heath, U.S. Marshals Secretly
                        Tracked 6,000 Cellphones, USA Today, Feb. 23, 2016,
                        https://www.usatoday.com/story/news/2016/02/23/us-marshals-service-cellphone-
                        stingray/80785616/; Joseph Goldstein, New York Police Dept. Has Used Cellphone Tracking
                        Devices Since 2008, Civil Liberties Group Says, N.Y. Times, Feb. 11, 2016,
                        https://www.nytimes.com/2016/02/12/nyregion/new-york-police-dept-cellphone-tracking-
                        stingrays.html; Joel Kurth, Michigan State Police Using Cell Snooping Devices, Detroit
                        News, Oct. 23, 2015,
                        http://www.detroitnews.com/story/news/local/michigan/2015/10/22/stingray/74438668/; Glenn E.
                        Rice, Secret Cellphone Tracking Device Used by Police Stings Civil Libertarians, Kan. City
                        Star, Sept. 5, 2015, http://www.kansascity.com/news/business/technology/article34185690.html;
                        Justin Fenton, Baltimore Police Used Secret Technology to Track Cellphones in Thousands of
                        Cases, Baltimore Sun, Apr. 9, 2015, http://www.baltimoresun.com/news/maryland/baltimore-
                        city/bs-md-ci-stingray-case-20150408-story.html; Fred Clasen-Kelly, CMPD’s Cellphone
                        Tracking Cracked High-Profile Cases, Charlotte Observer, Nov. 22, 2014,
                        http://www.charlotteobserver.com/news/local/crime/article9235652.html; Devlin Barrett,
                        Americans’ Cellphones Targeted in Secret U.S. Spy Program, Wall St. J., Nov. 13, 2014,
                        http://online.wsj.com/articles/americans-cellphones-targeted-in-secret-u-s-spy-program-
                        1415917533; Jason Leopold, Police in Washington, DC Are Using the Secretive ‘Stingray’ Cell
                        Phone Tracking Tool, Vice News, Oct. 17, 2014, https://news.vice.com/article/police-in-
                        washington-dc-are-using-the-secretive-stingray-cell-phone-tracking-tool; Joel Kurth & Lauren
                        Abdel-Razzaq, Secret Military Device Lets Oakland Deputies Track Cellphones, Detroit News,
                        Apr. 4, 2014, http://www.detroitnews.com/article/20140404/SPECIAL/304040043/Secret-
                        military-device-lets-Oakland-deputies-track-cellphones; Michael Bott & Thom Jensen, 9 Calif.
                        Law Enforcement Agencies Connected to Cellphone Spying Technology, ABC News 10, Mar. 6,
                        2014, http://www.news10.net/story/news/investigations/watchdog/2014/03/06/5-california-law-
                        enforcement-agencies-connected-to-stingrays/6147381/.
                             23
                             See, e.g., U.S.: Immigrant Arrests Soar Under Trump, Fewer Deported, Assoc. Press,
                        May 17, 2017, https://www.nytimes.com/aponline/2017/05/17/us/ap-us-trump-immigration-

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                        ICE and CBP under the current administration, there is a pressing need for
                        accurate information about the means used by ICE and CBP to identify and
                        locate immigrants whom the agencies seek to detain and potentially deport. The
                        records sought relate to a matter of widespread and exceptional media interest:
                        use of cell site simulators by federal immigration authorities in immigration
                        enforcement operations. Indeed, within hours of the Detroit News’ initial report
                        about the unsealed warrant in Michigan, a number of other news outlets had
                        picked up the story. 24

                               Given the foregoing, the ACLU has satisfied the requirements for
                        expedited processing of this Request.

                                               IV. Application for Waiver or Limitation of Fees

                                The ACLU requests a waiver of document search, review, and
AMERICAN CIVIL
LIBERTIES UNION         duplication fees on the grounds that disclosure of the requested records is in the
FOUNDATION              public interest and because disclosure is “likely to contribute significantly to
                        public understanding of the operations or activities of the government and is not
                        primarily in the commercial interest of the requester.” 5 U.S.C.
                        § 552(a)(4)(A)(iii). 25 The ACLU also requests a waiver of search fees on the
                        grounds that the ACLU qualifies as a “representative of the news media” and the
                        records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                        A.          The Request is likely to contribute significantly to public understanding
                                    of the operations or activities of the government and is not primarily in
                                    the commercial interest of the ACLU.

                               As discussed above, credible media and other investigative accounts
                        underscore the substantial public interest in the records sought through this
                        Request. Given the ongoing and widespread media attention to this issue, the
                        records sought will significantly contribute to public understanding of an issue


                        enforcement.html?_r=0; Alan Gomez, Immigration Arrests Up 38% Nationwide Under Trump,
                        USA Today, May 17, 2017,
                        https://www.usatoday.com/story/news/world/2017/05/17/deportations-under-president-trump-
                        undocumented-immigrants/101786264/.
                             24
                                See, e.g., Russel Brandom, Feds are Using Stingray Cell-Trackers to Find Undocumented
                        Immigrants, The Verge, May 19, 2017,
                        https://www.theverge.com/2017/5/19/15662968/immigration-ice-stingray-cell-site-simulator-
                        deportation-arrest; Matthew Rozsa, An Anti-Terrorism Device is Being Used to Find
                        Undocumented Immigrants Through Their Cell Phones, Salon, May 19, 2017,
                        https://www.salon.com/2017/05/19/an-anti-terrorism-device-is-being-used-to-find-
                        undocumented-immigrants-through-their-cell-phones/; Jeva Lange, Federal Agents Have Started
                        Using a Counter-Terrorism Device to Catch Undocumented Immigrants, The Week, May 19,
                        2017, https://theweek.com/speedreads/700192/federal-agents-have-started-using-
                        counterterrorism-device-catch-undocumented-immigrants.
                             25
                                  See also 6 C.F.R. 5.11(k)(1)(i)-(ii).


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                        of profound public importance. Because little specific information about use of
                        cell site simulators by ICE and CBP is publicly available, the records sought are
                        certain to contribute significantly to the public’s understanding of this topic.

                               The ACLU is not filing this Request to further its commercial interest.
                        As described above, any information disclosed by the ACLU as a result of this
                        FOIA Request will be available to the public at no cost. Thus, a fee waiver
                        would fulfill Congress’s legislative intent in amending FOIA. See Judicial
                        Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress
                        amended FOIA to ensure that it be liberally construed in favor of waivers for
                        noncommercial requesters.” (quotation marks omitted)).


                        B.          The ACLU is a representative of the news media and the records are not
                                    sought for commercial use.
AMERICAN CIVIL
LIBERTIES UNION
FOUNDATION                      The ACLU also requests a waiver of search fees on the grounds that the
                        ACLU qualifies as a “representative of the news media” and the records are not
                        sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). 26 The ACLU meets
                        the statutory and regulatory definitions of a “representative of the news media”
                        because it is an “entity that gathers information of potential interest to a segment
                        of the public, uses its editorial skills to turn the raw materials into a distinct
                        work, and distributes that work to an audience.” 5 U.S.C.
                        § 552(a)(4)(A)(ii)(III) 27; see also Nat’l Sec. Archive v. DOD, 880 F.2d 1381,
                        1387 (D.C. Cir. 1989) (finding that an organization that gathers information,
                        exercises editorial discretion in selecting and organizing documents, “devises
                        indices and finding aids,” and “distributes the resulting work to the public” is a
                        “representative of the news media” for purposes of the FOIA); Serv. Women’s
                        Action Network v. DOD, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters,
                        including ACLU, were representatives of the news media and thus qualified for
                        fee waivers for FOIA requests to the Department of Defense and Department of
                        Veterans Affairs); ACLU of Wash. v. DOJ, No. C09–0642RSL, 2011 WL
                        887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                        Washington is an entity that “gathers information of potential interest to a
                        segment of the public, uses its editorial skills to turn the raw materials into a
                        distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp.
                        2d at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                        disseminating information”). The ACLU is therefore a “representative of the
                        news media” for the same reasons it is “primarily engaged in the dissemination
                        of information.”




                             26
                                  See also 6 C.F.R. 5.11(k)(2)(iii).
                             27
                                  See also 6 C.F.R. 5.11(b)(6).


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                                Furthermore, courts have found other organizations whose mission,
                        function, publishing, and public education activities are similar in kind to the
                        ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
                        Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr.,
                        241 F. Supp. 2d at 10–15 (finding non-profit public interest group that
                        disseminated an electronic newsletter and published books was a “representative
                        of the news media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at
                        1387; Judicial Watch, Inc. v. DOJ, 133 F. Supp. 2d 52, 53–54 (D.D.C. 2000)
                        (finding Judicial Watch, self-described as a “public interest law firm,” a news
                        media requester). 28

                               On account of these factors, fees associated with responding to FOIA
                        requests are regularly waived for the ACLU as a “representative of the news
                        media.” 29 As was true in those instances, the ACLU meets the requirements for
                        a fee waiver here.
AMERICAN CIVIL
LIBERTIES UNION
FOUNDATION                                                      *        *        *

                               Pursuant to applicable statutes and regulations, the ACLU expects a
                        determination regarding expedited processing within 10 days. See 5 U.S.C.
                        § 552(a)(6)(E)(ii); 6 C.F.R. 5.5(e)(4).

                                If the Request is denied in whole or in part, the ACLU asks that you
                        justify all deletions by reference to specific exemptions to FOIA. The ACLU
                        expects the release of all segregable portions of otherwise exempt material. The
                        ACLU reserves the right to appeal a decision to withhold any information or
                        deny a waiver of fees.




                            28
                               Courts have found these organizations to be “representatives of the news media” even
                        though they engage in litigation and lobbying activities beyond their dissemination of
                        information / public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                        Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                        Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                            29
                               In May 2017, CBP granted a fee-waiver request regarding a FOIA request for documents
                        related to electronic device searches at the border. In May 2016, the FBI granted a fee-waiver
                        request regarding a FOIA request issued to the DOJ for documents related to Countering Violent
                        Extremism Programs. In April 2013, the National Security Division of the DOJ granted a fee-
                        waiver request with respect to a request for documents relating to the FISA Amendments Act.
                        Also in April 2013, the DOJ granted a fee-waiver request regarding a FOIA request for
                        documents related to “national security letters” issued under the Electronic Communications
                        Privacy Act. In August 2013, the FBI granted the fee-waiver request related to the same FOIA
                        request issued to the DOJ. In June 2011, the DOJ National Security Division granted a fee
                        waiver to the ACLU with respect to a request for documents relating to the interpretation and
                        implementation of a section of the PATRIOT Act. In March 2009, the State Department granted
                        a fee waiver to the ACLU with regard to a FOIA request for documents relating to the detention,
                        interrogation, treatment, or prosecution of suspected terrorists.


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                                 Thank you for your prompt attention to this matter. Please furnish the
                          applicable records to:

                                 Nathan Freed Wessler
                                 American Civil Liberties Union
                                 125 Broad Street- 18th Floor
                                 New York, New York 10004
                                 T : 212.549.2500
                                 F: 212.549.2654
                                 nwessler@aclu.org

                                 I affirm that the information provided supporting the request for
                          expedited processing is true and correct to the best of my knowledge and belief.
                          See 5 U.S .C. § 552(a)(6)(E)(vi).
11.MERICAN CIVIL
LIBERTIES UNION
                                                               Respectfully,
FOUNDATION




                                                              ~Nathan Freed Wessler
                                                               American Civil Liberties Union
                                                                  Foundation
                                                               125 Broad Street- 18th Floor
                                                               New York, New York 10004
                                                               T: 212.549.2500
                                                               F: 212.549.2654
                                                               nwessler@aclu.org




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             EXHIBIT B
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                                                                      1300 Pennsylvania Avenue NW
                                                                      Washington, DC 20229




                                                             CBP‐2017‐058684

May 24, 2017

Nathan Wessler
American Civil Liberties Union
125 Broad Street, 18th Floor
New York, NY 10004


Dear Mr. Wessler:

This is a final response to your Freedom of Information Act (FOIA) request to U.S. Customs and
Border Protection (CBP) records pertaining to use of cell site simulators by Customs and Border
Protection.

We conducted a comprehensive search of files within the CBP databases for records that would
be responsive to your request. Unfortunately, we were unable to locate or identify any
responsive records, based upon the information you provided in your request.

This completes the CBP response to your request. You may contact a FOIA Public Liaison by
sending an email via your FOIAonline account, or call 202‐325‐0150. Please notate file number
CBP‐2017‐058684 on any future correspondence to CBP related to this request.

If you are not satisfied with the response to this request, you have a right to appeal the final
disposition. Should you wish to do so, you must file your appeal within 90 days of the date of
this letter following the procedures outlined in the DHS regulations at Title 6 C.F.R. §5.9. Please
include as much information as possible to help us understand the grounds for your appeal.
You should submit your appeal via FOIAonline by clicking on the “Create Appeal” button that
appears when you view your initial request. If you do not have computer access, you may send
your appeal and a copy of this letter to: FOIA Appeals, Policy and Litigation Branch, U.S.
Customs and Border Protection, 90 K Street, NE, 10th Floor, Washington, DC 20229‐1177. Your
envelope and letter should be marked "FOIA Appeal." Copies of the FOIA and DHS regulations
are available at www.dhs.gov/foia. Additional information can be found at the following link
https://www.cbp.gov/document/guidance/exemption‐definitions.

Additionally, you have a right to seek dispute resolution services from the Office of Government
Information Services (OGIS) which mediates disputes between FOIA requesters and Federal
agencies as a non‐exclusive alternative to litigation. If you are requesting access to your own
records (which is considered a Privacy Act request), you should know that OGIS does not have
the authority to handle requests made under the Privacy Act of 1974. You may contact OGIS as
        Case 1:19-cv-11311-JSR Document 1-3 Filed 12/11/19 Page 26 of 28
follows: Office of Government Information Services, National Archives and Records
Administration, 8601 Adelphi Road‐OGIS, College Park, Maryland 20740‐6001, e‐mail at
ogis@nara.gov; telephone at 202‐741‐5770; toll free at 1‐877‐684‐6448; or facsimile at 202‐
741‐5769.

Sincerely,


Jasmine Wiggins
FOIA Analyst, FOIA Division
Privacy and Diversity Office
      Case 1:19-cv-11311-JSR Document 1-3 Filed 12/11/19 Page 27 of 28

                                                                U.S. Department of Homeland Security
                                                                Washington, DC 20229


                                                                 U.S. Customs and
                                                                 Border Protection


                                                        DIS-3-RR:RDL:FAPL
                                                        CBP-AP-2017-067239 GA

                                   July 13, 2017

Nathan Wessler
American Civil Liberties Union
125 Broad Street, 18th Floor
New York, NY 10004

RE:     Freedom of Information Act Appeal; CBP-2017-058684

Dear Mr. Wessler:

       This letter is in response to your electronic submission of June 22, 2017
that appeals the response of the U.S. Customs and Border Protection (“CBP”)
FOIA Division to the Freedom of Information Act (“FOIA”) request made by you on
behalf of the American Civil Liberties Union (“ACLU”).

Your FOIA Request

      In your request you asked for CBP records pertaining to the use of cell site
simulators by CBP.

       In its response of May 24, 2017 to your FOIA request, the CBP FOIA
Division stated:

         We conducted a comprehensive search of files within the CBP
         databases for records that would be responsive to your request.
         Unfortunately, we were unable to locate or identify any responsive
         records, based upon the information you provided in your request.

Your FOIA Appeal

       In your recent submission you appeal the response of the CBP FOIA
Division.

       Pursuant to your appeal, this office has conducted a de novo thorough
search of CBP offices based upon the information provided. We contacted the
Office of Border Patrol, Office of Air and Marine, and the Office of Intelligence and
were advised that there were no records which are responsive to your request.
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       The decision of the CBP FOIA Division is affirmed.

       The FOIA (5 U.S.C. § 552(a) (4)(B)) provides you with the opportunity to
seek judicial review of this administrative appeal. You may institute judicial review
in the U.S. District Court in the district in which you reside, have a principal place
of business, where the agency records are located, or in the U.S. District Court for
the District of Columbia.

       Alternatively, the Office of Government Information Services (“OGIS”) offers
mediation services to resolve disputes between FOIA requesters and Federal
agencies as a non-exclusive alternative to litigation. Using the OGIS does not
affect your right to pursue litigation. If you are requesting access to your own
records, which is considered a Privacy Act request, you should know that OGIS
does not have the authority to handle requests made under the Privacy Act of
1974. If you wish to contact the OGIS, you may do so in the following ways: Office
of Government Information Services, National Archives and Records
Administration, 8601 Adelphi Road, Room 2510, College Park, MD 20740-6001;
by email - ogis@nara.gov; by telephone – 202-741-5770; or by facsimile –
(202)741-5769.

                                   Sincerely,

                                   Shari Suzuki

                                   Shari Suzuki, Chief
                                   FOIA Appeals, Policy, and Litigation Branch
                                   Regulations & Rulings
                                   Office of Trade
